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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                   Alexandria Division
 UNITED STATES, et al.,                       )
                                              )
                       Plaintiffs,            )
        v.                                    )       No. 1:23-cv-00108-LMB-JFA
                                              )
 GOOGLE LLC,                                  )
                                              )
                       Defendant.             )



               PLAINTIFFS’ MOTION FOR LEAVE TO FILE UNDER SEAL

        Pursuant to Local Civil Rule 5(C) and the Protective Order (ECF No. 98), Plaintiffs,

 through their undersigned counsel, hereby respectfully move this Court to seal certain portions of

 Plaintiffs’ Memorandum of Law in Support of Plaintiffs’ Motion to Exclude Expert Testimony

 of Anthony Ferrante as well as certain exhibits attached to the same motion. The redacted

 portions contain material that Google has designated as highly confidential or confidential.

 Consistent with the local rule and this Court’s Electronic Case Filing Policies and Procedures,

 undersigned counsel have filed the materials at issue using the sealed filing event on CM/ECF

 and hereby certify that they will serve a copy on opposing counsel and deliver a copy to this

 Court in a separate container labeled “UNDER SEAL.” The grounds for this motion are

 contained in the memorandum of law concurrently filed in support of this motion. A proposed

 order is attached for the Court’s convenience.
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 Dated: April 26, 2024



 Respectfully submitted,

 JESSICA D. ABER                       JASON S. MIYARES
 United States Attorney                Attorney General of Virginia

 /s/ Gerard Mene                       /s/ Tyler T. Henry
 GERARD MENE                           STEVEN G. POPPS
 Assistant U.S. Attorney               Deputy Attorney General
 2100 Jamieson Avenue                  TYLER T. HENRY
 Alexandria, VA 22314                  Assistant Attorney General
 Telephone: (703) 299-3777
 Facsimile: (703) 299-3983             Office of the Attorney General of Virginia
 Email: Gerard.Mene@usdoj.gov          202 North Ninth Street
                                       Richmond, VA 23219
 /s/ Julia Tarver Wood                 Telephone: (804) 692-0485
 JULIA TARVER WOOD                     Facsimile: (804) 786-0122
 /s/ Michael J. Freeman                Email: thenry@oag.state.va.us
 MICHAEL J. FREEMAN
 /s/ Amanda M. Strick                  Attorneys for the Commonwealth of
 AMANDA M. STRICK                      Virginia and local counsel for the
 United States Department of Justice   States of Arizona, California,
 Antitrust Division                    Colorado, Connecticut, Illinois,
 450 Fifth Street NW, Suite 7100       Michigan, Minnesota, Nebraska, New
 Washington, DC 20530                  Hampshire, New Jersey, New York,
 Telephone: (202) 307-0077             North Carolina, Rhode Island,
 Fax: (202) 616-8544                   Tennessee, Washington, and West
 Email: Michael.Freeman@usdoj.gov      Virginia
 Attorneys for the United States
